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FoR THE WESTERN DISTRICT 01= TENNESSEY£A 41 ` ’9'/<".- /
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UNrrED STATES oF AMERICA
vs ca No. 1:05-10018-01-T
TIMOTHY ISAIH cAMPBELL
oRDER oN cHANGE oF PLEA

 

This cause came on to be heard on May 16, 2005, Assistant U. S. Attorney,
J ames W. Powell, appearing for the government, and the defendant appeared in person
and With counsel, Ramsdale O’DeNeal, Who Was retained.
With leave of the Court, the defendant withdrew the Not Guilty Plea heretofore entered
and entered a plea of GUILTY as charged in Count 1 of the Indictment.
This case has been set for sentencing on Tuesday, August 16. 2005. at 8:30 A.M.
The defendant is allowed to remain on his present bond.

IT IS SO ORDERED.

 

/§- Qa~M
JAMES . TODD

UNI'I`E STATES DISTRICT JUDGE

DATE-: &/ 6 /7£&;1 W'D\S/

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Honorable J ames Todd
US DISTRICT COURT

